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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 BETTY COOPER,                    )
                                  )
                   Plaintiff,     )
                                  )
                v.                )                    No. 1:21-cv-00813-TWP-DLP
                                  )
 WESTMINSTER VILLAGE NORTH, INC., )
                                  )
                   Defendant.     )

                  MINUTE ENTRY FOR DECEMBER 13, 2021
                       SETTLEMENT CONFERENCE
                 HON. DORIS L. PRYOR, MAGISTRATE JUDGE

       The parties appeared in person and by counsel for a settlement conference on

 December 13, 2021. A settlement has been reached in this action. Therefore, all

 pending motions, if any, are now DENIED AS MOOT and all previously ordered

 dates relating to discovery, filings, schedules, conferences, and trial, if any, are

 VACATED.

       Within thirty (30) days of the date of this entry, the parties shall file a motion

 to dismiss this cause and submit an order for the Court’s signature ordering the

 dismissal of this action or a stipulation of dismissal (consistent with the agreement

 of the parties). Additional time to complete the execution of the settlement

 documents may be granted for good cause shown, if requested in writing before

 expiration of this period.

       So ORDERED.

          Date: 12/13/2021
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 Distribution:

 All ECF-registered counsel of record via email
